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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                   CRIMINAL ACTION NO. 2:09-cr-00222-02

FLOYD B. MOORE,

                              Defendant.



                         MEMORANDUM OPINION AND ORDER


         Pending before the Court is Defendant Floyd B. Moore’s Motion for Bond Pending Appeal

[Docket 2691]. Defendant Moore is scheduled to report to FCI Edgefield in Edgefield, South

Carolina, on Friday, May 13, 2011. The United States filed a response on May 12, 2011. (Docket

2693.)

                                           I. BACKGROUND

         On December 18, 2009, Defendant Moore pled guilty to an indictment charging him with

violating 18 U.S.C. 1962(c). (Docket 776.) As part of his plea agreement with the United States,

Defendant Moore stipulated to the facts of two racketeering acts, as required for a finding of guilt

on the RICO charge. (Docket 777.) Those racketeering acts were a murder conspiracy, a felony

under West Virginia state law, and a Travel Act (or ITAR) charge for his participation in the Pagans

Motorcycle Club annual raffle. (Id. at 8-11.) On February 25, 2011, the Court found a sufficient

factual bases to support Defendant Moore’s guilty plea, adjudged Moore guilty of violating the

RICO statute, 18 U.S.C. § 1962(c), and sentenced him to 57 months’ imprisonment. (Docket 2630.)
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On March 2, 2011, before the judgment in this case was docketed, Defendant Moore filed a notice

of intent to appeal his conviction and sentence. (Docket 2621.) He was subsequently appointed

appellate counsel by the Fourth Circuit, and on May 2, 2011, the Court granted Defendant Moore

an extension of his self-report date to file the instant motion. (Docket 2685.)

                                         II. DISCUSSION

       When a defendant appeals a judgment or sentence, he must be detained pending appeal

unless the Court is satisfied that (1) by clear and convincing evidence he is unlikely to flee or pose

a danger to society and (2) the appeal raises a substantial question or law or fact and is likely to

result in reversal, a new trial, or a reduced sentence of imprisonment. See 18 U.S.C. § 3143(b). The

United States accepts as true Defendant Moore’s assertion that he satisfies the first prong. (Docket

2693 at 2-3 n.1.) The Court therefore FINDS that he is unlikely flee and poses no danger to society.

The second prong of the § 3143(b) analysis has two parts—first, a defendant must show that his

appeal raises a “substantial question of law or fact”; second, he must show that if successful, his

appeal is likely to result in reversal, new trial, or a reduced term of imprisonment. See 18 U.S.C.

§ 3143(b)(1)(B); United States v. Steinhorn, 927 F.2d 195, 196 (4th Cir. 2008). The Fourth Circuit

has defined the term “substantial question” as “a ‘close’ question or one that very well could be

decided the other way.” Steinhorn, 927 F.2d at 196 (quoting United States v. Giancola, 754 F.2d

898, 901 (11th Cir. 1985)).

       In his memorandum, Defendant Moore makes clear that his appeal challenges the factual

basis underlying his RICO conviction. In particular, Defendant Moore is appealing “the use of the

gambling predicate to undergird his RICO conviction.” (Docket 2691 at 3.) In an attempt to

demonstrate a “substantial question of law or fact,” Defendant Moore argues that, because the raffle


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is merely a misdemeanor under West Virginia state law, it is legally insufficient to serve as a RICO

predicate. (Id.) This argument wholly overlooks the fact that Defendant Moore’s gambling

activities also amount to a Travel Act violation, which is a federal felony and a legally sufficient

RICO predicate. Moore states that “[t]he raffle itself could not have been a RICO predicate

gambling act; it is not a felony.” (Docket 2691 at 3.) The Court agrees. However, once Moore’s

gambling activities took on an interstate character and satisfied the elements of the Travel Act, a

sufficient RICO predicate came into existence. Defendant Moore further states that only one other

district court has “transmogrif[ied] a misdemeanor state gambling violation into a federal RICO

predicate under § 1952(a)(1).” (Docket 2691 at 3.) Arguing that scant precedent exists on a point

of law is insufficient to demonstrate that this appeal presents “substantial question of law or fact.”

Instead, the relevant question is whether the issue on appeal is a “close” question in context of the

particular facts of the case. Although the Court has repeatedly expressed doubt as to the wisdom

of prosecuting defendants in this case for their involvement with the annual raffle, it has also

repeatedly affirmed the legal sufficiency of those activities, when they amount to a Travel Act

violation, as a RICO predicate. The resolution of this case was not a “close call,” and the Court

accordingly FINDS that Defendant Moore does not meet the elements under 18 U.S.C. § 3143.*


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  The United States also argues that Defendant Moore waived his right to appeal his conviction by
virtue of entering the plea agreement. (Docket 2693 at 3-4.) The relevant provision in the plea
agreement provides that Moore waives his right “to seek appellate review of any sentence of
imprisonment or fine imposed by the District Court, or the manner in which the sentence was
determined, on any ground whatsoever including any ground set forth in 18 U.S.C. § 3742, so long
as the sentence of imprisonment or fine is at or below the maximum prescribed by statute . . . .”
(Docket 777 at 5.) By its plain words, this appeal waiver concerns only the sentence of
imprisonment and fine imposed by the Court; it does not concern the fact of conviction. Defendant
Moore may have waived his right to challenge this Court’s determination of an appropriate sentence,
but he did not waive his right to appeal “the Court’s legal findings underlying his conviction,” as
                                                                                     (continued...)

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                                      III. CONCLUSION

       For the reasons set forth above, the Court FINDS that Defendant Moore is ineligible for

release bending appeal pursuant to 18 U.S.C. § 3143(b). The Motion for Bond Pending Appeal

[Docket 2691] is therefore DENIED.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel,

the United States Attorney, the United States Probation Office, and the United States Marshal.

                                             ENTER:         May 13, 2011



                                             _________________________________________
                                             THOMAS E. JOHNSTON
                                             UNITED STATES DISTRICT JUDGE




*
 (...continued)
the United States now contends. (Docket 2693 at 4.) At base, plea agreements are contracts. United
States v. Dews, 551 F.3d 204, 214 (4th Cir. 2008). Contract law instructs that ambiguities are
resolved against the drafter. Insofar as the appeal waiver is ambiguous, it must be interpreted
against the United States and in favor of Defendant Moore. Accordingly, the Court cannot conclude
that the appeal waiver is as expansive as the United States now suggests, and that argument plays
no role in the Court’s consideration of the present motion.

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